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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

ERIC C. DETERS, : Case No. 1:19-cv-24
Plaintiff, : Judge Susan J. Dlott
Vv. ORDER TO SHOW CAUSE WHY
: MONETARY SANCTION SHOULD
MARK SCHWEIKERT, : NOT BE IMPOSED FOR VIOLATION
: OF FEDERAL RULE OF CIVIL
Defendant. : PROCEDURE 11

Plaintiff, a former attorney who is no longer licensed to practice law in Ohio or
Kentucky, initiated this action pro se challenging state court Judge Mark Schweikert’s Order
dated October 4, 2018, excluding Plaintiff from the courtroom during the civil litigation
stemming from actions of former spine surgeon Abubakar Atiq Durrani. For the reasons
explained in the Report and Recommendation (Doc. 18), the Court has granted Defendant’s
motion for judgment on the pleadings (Doc. 20).

Although Plaintiff has indicated that he no longer wishes to proceed with this action
(Doc. 19), Plaintiffs filings have forced both the Defendant and the Court to expend time and
resources adjudicating the patently frivolous claims presented. Accordingly, consistent with this
Court’s Order (Doc. 20), Plaintiff is hereby ORDERED TO SHOW CAUSE in writing no later
than June 14, 2019, why the Court should not impose a monetary sanction pursuant to Federal
Rule of Civil Procedure 11.

IT IS SO ORDERED.

Dated: 0/9 iain. q. gee,
Judge Susan J lott
United States District Court
